        Case 24-30465-5-wak Doc 93 Filed 03/12/25 Entered 03/12/25 11:10:38                        Desc
                         Closing Dsmd Cs - Dsc Trustee Page 1 of 1
ocdsmSTr

                           UNITED STATES BANKRUPTCY COURT
                                         Northern District of New York
In Re: Debtor(s) (name(s) and address)                              )
Thomas William Pritchard                                            )
                                                                    )
xxx−xx−9267                                                         )Case Number: 24−30465−5−wak
5107 Old Barn Road                                                  )
Clay, NY 13041                                                      )
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )Chapter: 7
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                                                                    )


           ORDER CLOSING DISMISSED CASE AND DISCHARGING TRUSTEE
The above named case having been dismissed by Order entered on December 10, 2024 , it is

ORDERED that William J. Leberman−Trustee is discharged as trustee of the estate of the above−named debtor(s)
and that the case be and hereby is closed.




Syracuse, NY
DATED: 3/12/25

                                                       BY THE COURT




                                                               HON. WENDY A. KINSELLA
                                                               U.S. Bankruptcy Judge
